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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 (Filed: August 4, 2015)

* * * * * * * * * * * * *                 *
                                          *        UNPUBLISHED
ALBERT J. MICHAELS,                       *
                                          *        No. 13-182
             Petitioner,                  *
                                          *        Special Master Hamilton-Fieldman
v.                                        *
                                          *        Voluntary dismissal under
SECRETARY OF HEALTH                       *        Vaccine Rule 21(a).
AND HUMAN SERVICES,                       *
                                          *
             Respondent.                  *
* * * * * * * * * * * * * * *
Mark L. Krueger, Krueger & Hernandez, S.C., Baraboo, WI, for Petitioner.
Debra A. Begley, United States Department of Justice, Washington, DC, for Respondent.

                          ORDER CONCLUDING PROCEEDINGS1

        On March 11, 2013, Albert J. Michaels (“Petitioner”) filed a petition for compensation
under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006)
(“Vaccine Act”). Petitioner alleged that an influenza (“flu”) vaccine administered to him on
January 20, 2012 caused him to suffer from a “serum sickness type autoimmune reaction.” Petition
(“Pet.”) at 1.

       On August 3, 2015, the parties filed a Joint Stipulation of Dismissal, stating the parties
give notice of Petitioner’s voluntary dismissal.

        Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed. The Clerk of Court is hereby instructed that a judgment shall not enter in the
instant case pursuant to Vaccine Rule 21(a).



1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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                             CONCLUSION

Proceedings are concluded in this case.

IT IS SO ORDERED.

                                     s/Lisa D. Hamilton-Fieldman
                                     Lisa D. Hamilton-Fieldman
                                     Special Master




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